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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                                        CASE No. 8:22-cv-01076

LEONARDO OSORIO, individually and
on behalf of all others similarly situated,

      Plaintiff,

vs.

IEC US HOLDINGS, INC D/B/A
FLORIDA CAREER COLLEGE,

     Defendant.
_________________________________/

        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff Leonardo Osorio, by and through undersigned counsel, pursuant to

Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby file this Notice

Voluntary Dismissal with Prejudice in the above styled action of Plaintiff’s

individual claims against Defendant and without prejudice as to the putative class

action claims against Defendant.

      DATED: June 15, 2022


                                                                  Respectfully Submitted,

                                                                   /s/ Jennifer G. Simil                                  .
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                                                                  COUNSEL FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on June 15, 2022, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.


                                                                   /s/ Jennifer G. Simil                                  .
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